EXHIBIT A
                                                a                                                     n
                                                                                                      rieNo.
                                                                                                                                          n
  STATE OF NORTH CAROLINA                                                                                                       ~i 1, ~~ G C,
                                                                                                                 >I~; `~
                                                       CoUnty                                              In The General Court Of Justice
                                                                                                         District Court Division - Small Claims
Plaintiff(s)


          % I~ I'a rn             ~~ oY~                                                          MAGISTRATE SUMMONS
                                                                                    ❑ ALIAS AND PLURIES SUMMONS (ASSESS FEE)

                                     VERSUS                                                                                G.S. 1A-1, Rule 4; 7A-217, -232
Defendant(s)                                                                  Date Original Summons Issued

     Vuell~ 1=a~ ~ ~ao k,NaA , on6I                                           Date(s) Subsequent Summons(es) Issued


     As s u atro`n
TO                                                                            TO
Name And ddress Of Defendant 1                                                Name And Add ess Of Defendant

  .V~e~~s -~o b 3aA k,Na~ i ~n~ l 1~ s5oc~~~- Wel~s ~ n can~ ,NA~ionc~ l , N Sso~~'d C o
 1 on                    ~                                                     101       ~' 011i'P& ~v~nue;S~ovX
                                                                                                            ,    Fc~l~s) ffiu
I~                                                                                   1                          D
Telephone No. O Defendant 1                                                   Telephone No. Of Defendant 2

                 5'I I~ - ~ ~.~                                                 8 ~i C-I — 5~ lo — bH2
                  IMPORTANT! You have been sued! These papers are legal documents, DO NOT throw these papers out!
                  You may want to ta!k with a lawyer about your case as soon as possible, and, if needed, speak with


  A               someone who reads English and can translate these papers!
                  iIMPORTANTE! iSe ha entab!ado un proceso civil en su contra! Estos papeles son documentos legales.
                  iN0 TIRE estos pape!es!
                  iPuede querer consultar con un abogado lo antes posib!e acerca de su caso y, de ser necesario, hablar
                  con aiguien que lea ing!es y que pueda traducir estos documentos!
 A Small Claim Action Has Been Commenced Against You!
 You are notified to appear before the magistrate at the specified date, time, and location of trial listed be!ow. You will have the opportunity
 at the trial to defend yourse!f against the c!aim stated in the attached complaint.


 You may fi!e a written answer, making defense to the claim, in the office of the Clerk of Superior Court at any time before the time set for
 trial.


 If you fail to appear and defend against the proof offered, the magistrate may enter a judgment against
Date Of Trial                                 Time     Trial                  Location Of Court
                             -    ,`           ~
Name And Address Of Plaintiff Or Plaintiff's Attomey
                                                          2
                                                                ❑ AM WPM
                                                                              Date Issued
                                                                                                                  m Fbw


                                                                                                               3e2020
                                                                              Signatur



                                                                                         Dep ty CSC      ❑ Assistant CSC        ❑ Clerk Of Superior Court




                                                                           (Over)
  AOC-CVM-100, Rev. 3/19
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                                                           RETURN OF SERVICE
 I certify that this summons and a copy of the complaint were received and served as follows:
                                                                DEFENDANT1
Date Served                       Time Served                          "efendant
                                                         ❑ AM   ❑ PM

 ❑ By delivering to the defendant named above a copy of the summons and complaint.
 ❑ By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
   person of suitable age and discretion then residing therein, who is named below.
 ❑ As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
    below.
Name And Address Of Person With Whom Copy Left (if corporation, give title of person copy left with)




                                                                                                 a•
                                                                                                    .     •~        , •. •



 ❑ Other manner of service (specify)




 ❑ Defendant WAS NOT served for the following reason:




                                                                DEFENDANT 2
Date Served                       Time Served                            M~ ndant
                                                         ❑ AM   ❑PM
                                                                       ra—
 ❑ By delivering to the defendant named above a copy of the summons and complaint.
 ❑ By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
   person of suitable age and discretion then residing therein, who is named below.
 ❑ As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
    below.
Name And Address Of Person With Whom Copy LeR (if corporation, give title of person copy left with)




 ❑ Other manner of service (specify)




 ❑ Defendant WAS NOT served for the following reason:




                       ❑ Service was made by mailing by first class mail a copy of the summons and complaint to the defendant(s) and
    FOR USE IN             by posting a copy of the,summons and complaint at the following premises:
     SUMMARY          Date Served                 Name(s) Of The Defendant(s) Served By Posting
    EJECTMENT
 CASES ONLY:          Address Of Premises Where Posted


Service Fee                                                            Signature Of Deputy Sheriff Making Retum
$
Date Received                                                          Name Of Deputy Sheriff Making Retum (type or print)


Date Of Retum                                                          County Of Sheriff



                                                                                                               .             '   s   •
    AOC-CVM-100, Side Two, Rev. 3/19
    © 2019 Administrative Office of the Cour'                                                 _
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                      "'. Q,         ,_! a,;                          STATE OF             NORTH CAROLINA
                                                                                                                                                                      hjhe General Cou'rt Of Jusfice
                                                                            ±Z-7                                    county.4--,'..                                  District Court Division-SmallClaims
                    COMPLAINT
                                                                       1-
                                                                        . The     defendant.is a resident of the countij;med above..
                  FOR MONEY OWED
                                                                       2. The defendant owes me the amount listedJor the following reason:

                                                G.S- 7A-216,7A-232
                                                                                                                                       Pbricipal Arnouni'~nred y                 $ 35
                                                                                                                                                                                   - -
                                                                                                                                                                      F
                                                                                                                                        Interest Owed (i~any)                    s

                                                                                                                                       Total Amount Owed                         $

                                                                     (check one beloiv)
                                                                                                                                     Dige F-rom'Wich Inletest Due                         interest Rate
                                                       U.             El    On An Account(attache copyofthaac'counQ
                               VERSUS                                                                                                Beginntng Date             50tng Date                friterest Rate
Name Atid Address OfOetendart I     ❑ ladvident      Z—CaporegM       El    For Goods Sold And Delivered Betvveen
 Lq                                                                                                                                  Date rfqm EWch khtiest Due                           kmwest Reta.
                                                                      L] For Money Lent
                                                                                                                                         OFNote             Date F=mm-micti werest DLC-
                                                                      ❑ on a Pmmissory Note(attach          copy)
                        ck~ k,           c-r 1v

                                                                     1 0 For
                                                                           'a'Worthiess Check (attach a copy ofthec&ck)
                                  Telephone M.
                                                       'o             ❑     For conversion (describe propartl)
Name AndAddress QrDeferKfant 2     r IndillfdUg      O'CaWM(fiDn

                                                     09

   'DrV~A
                                    0
                                                                       Other:(specity)

                                  Telephoqe No.
                                                                                                                                                                      Ult     r
CIVV
               4~h1                                                                         'j



                                                                       I demand to recover the total amount listed above, plus interest and reimbursement forcourt costs


                                                                     Date                        Afamq o   ingtorAftoffiey(Type grpm                     nq&ure or ffff Or-~Yo—
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                                                                                      7

                                                                                                                                                              LI,


  AOC-CVM-200, Rev. 9113
 (9) 2013 Administrative Office Gf the Courts
                                              IhISTRUDTIONS Tt7 PLAINTIFF DF2 DEFENDANT
  1. The PLAIhlTIFF must file a small claim action in the county where at least      6. The DEFENDANT may file a written answer, making defense to the
       one of the defendants resides.                                                   claim, in the office of the Clerk of Superior Court. This answer
                                                                                        should be accompanied by a copy for the plaintiff and be filed no
   2. The PLAINTIFF cannot sue in small claims court for more than $10,000.00.          later than the time set for trial. The filing of the answer DdES N OT
      This amount may be lower, depending on local judicial order. If the amount        relieve the defendant of the need to appear before the magistrate to
      is lower, it may be any amount between $5,000.00 and $10,000.00, as               assert the defendant's defense.
      determined by the chief district courtjudge of the judicial district.
                                                                                     7. Vlihether or not an answeris filed, the PI_AINTIFF must appear
  3. The PLAINTIFF must show the complete name and address of the                       before the magistrate.
       defendant to ensure service on the defendant. If there are two defendants
       and they reside at different addresses, the plaintiff must include both       8. The PLAINTIFF orthe DEFENDANT may appeal the magistrate's
       addresses. The plaintiff must determine if the defendant is a corporation        decision in this case. To appeal, notice must be given in open court ~
       and sue in the complete corporate name. If the business is not a                 when the judgment is rendered, ornotice may be given in writing to
       corporation, the plaintiff must detennine the ownees name and sue the            the Clerk of Superior Court within ten (10) days after the judgment is
       owner.                                                                           rendered. If notice is given in writing, the appealing party must also
                                                                                        serve written notice of appeal on all other parties. The appealing
   4. The PLAINTIFF inay serve the defendant(s) by mailing a copy of the                party must PAY to the Clerk of Superior Court the costs of court for
       summons and complaint by registered or certified mail, retum receipt             appeal within tinrenty (20) days afEer the judgment is rendered.
       requested, addressed tso the party to be served or by paying the costs to
       have the sherifPserve the summons and complaint. If certified or              9. This fomj is supplied in orderto expedite the handling of small
       registered mail is u sed, the plainfiff must prepare and file a sworn            claims. It is designed to coverthe most common claims.
       statement with the Clerk of Superior Court proving sentice by certified
       mail and must attach to that statement the postal receipt showing that the   10. The Clerk or n'tagistrate cannot adrrise you about your
       letter was accepted.                                                             case or assist you in completing this forrn. Ilf you
  b. The PLAIhfTIFF must payadvance court costs at the time of filing this              have any questions, you should consuif an a#torney.


                                                                                                                                                                 •
      Complaint. In the event that judgment is entered in favor of the plainfiff,
      court costs may be charged against the defendant.




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0 2013 Administrative Otfice of the Courts
